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Attorney for Plaintiff Humane Consumer LLC

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,

              Plaintiff,                        Case No. 1:18-cv-05622-PKC

v.                                              NOTICE OF VOLUNTARY
                                                DISMISSAL OF AMAZON.COM, INC.
COB ECOMMERCE EMPIRE LLC

d/b/a Keeva Organics, CRAWFORD AND

O'BRIEN LLC, CHARLES CRAWFORD,

MICHAEL O'BRIEN and AMAZON.COM,




              Defendants.
       Plaintiff, Humane Consumer LLC voluntarily dismisses Amazon.com> Inc. from this

action without prejudice pursuant to Fed. R. Civ. P. 41(a)(l). Amazon.com, Inc. has not filed an

answer or a motion for summary judgment in this action.


Dated: July'3 /, 2018
